              Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 1 of 22




 1 AARON D. FORD
     Attorney General
 2 Ashley A. Balducci (Bar No. 12687)
     Senior Deputy Attorney General
 3 Emily N. Bordelove (Bar No. 13202)
      Senior Deputy Attorney General
 4 Office of Attorney General
   555 E., Washington Ave., Ste. 3900
 5 Las Vegas, NV 89101
   (702) 486-3240 (phone)
 6 (702) 486-3768 (fax)
   abalducci@ag.nv.gov
 7 ebordelove@ag.nv.gov

 8 Attorneys for State of Nevada,
   ex rel. Cannabis Compliance Board
 9

10                       UNITED STATES BANKRUPTCY COURT
11                                DISTRICT OF NEVADA
12   In re:                                          BK-22-11249-abl
                                                     Chapter 11 (Subchapter V)
13
     NUVEDA, LLC, a Nevada limited
14   liability company,
                                                     Hearing Date: August 23, 2022
15                                    Debtor(s).     Hearing Time: 2:00 PM

16   DECLARATION OF EMILY N. BORDELOVE ESQ. IN SUPPORT OF STATE
17       OF NEVADA EX REL. CANNABIS COMPLIANCE BOARD LIMITED
18      JOINDER TO CREDITOR JENNIFER M. GOLDSTEIN’S MOTION TO
19                         DISMISS BANKRUPTCY PETITION
20       1. I am an attorney with the Nevada Attorney General’s Office that represents
21 the Cannabis Compliance Board (“CCB”).

22       2. I submit this Declaration in support of the CCB’s contemporaneously filed
23 Limited Joinder to Creditor Goldstein’s Motion to Dismiss Bankruptcy. I have

24 personal knowledge of the matters set forth in this Declaration and, if called as a

25 witness, could and would competently testify thereto.

26       3. Attached as Exhibit A. hereto is a true and correct copy of the Notice of Entry
27 of Temporary Restraining Order filed on February 5, 2019, Dkt. 21 in Case No. A-

28 17-755479-B.


                                           Page 1 of 2
          Case 22-11249-abl    Doc 94   Entered 07/18/22 14:08:21     Page 2 of 22




1       4. Attached as Exhibit B. hereto is a true and correct copy the Notice of Entry
2 of Amended Injunction filed on April 16, 2019, Dkt. 91 in Case No. A-17-755479-B.

3       5. Please note, while the pleadings in Exhibits A & B above list the case number
4 as A-17-755479-C, the Eighth Judicial District Court records list the case number as

5 A-17-755479-B. Attached as Exhibit C., hereto is a true and correct copy of the

6 search results from https://www.clarkcountycourts.us/Anonymous/Search showing

7 the case number above.

8       I declare under penalty of perjury under the law of the State of Nevada that the
9 foregoing is true and correct.

10        DATED this 18th of July, 2022.

11
                                          By:
12                                              Emily
                                                Emil    N.. B
                                                  iilly N   Bordelove
                                                             o deello
                                                             or     ove (Bar No. 13202)
                                                                     v (B

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                        Page 2 of 2
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 3 of 22




       EXHIBIT “A”




        EXHIBIT “A”
                                                                   Case 22-11249-abl        Doc 94     Entered 07/18/22 14:08:21       Page 4 of 22
                                                                                                                                          Electronically Filed
                                                                                                                                          2/5/2019 5:03 PM
                                                                                                                                          Steven D. Grierson
                                                                                                                                          CLERK            COURT
                                                                                                                                                K OF THE COU   URT
                                                                                                                                                                 T
                                                                -XVWLQ&DUOH\(VT
                                                                  1HYDGD%DU1R
                                                                %UDGOH\$XVWLQ(VT
                                                                  1HYDGD%DU1R
                                                                61(// :,/0(5//3
                                                                  +RZDUG+XJKHV3DUNZD\6XLWH
                                                                /DV9HJDV19
                                                                  7HOHSKRQH  
                                                                )DFVLPLOH  
                                                                  MFDUOH\#VZODZFRP
                                                                EDXVWLQ#VZODZFRP
                                                                Attorneys for Defendant
                                                                  4Front Advisors LLC
                                                             
                                                                                            (,*+7+-8',&,$/',675,&7&2857
                                                                                              &/$5.&2817<1(9$'$
                                                               189('$//&D1HYDGD/LPLWHG/LDELOLW\             &$6(12$&
                                                                  &RPSDQ\DQG&:1(9$'$//&D1HYDGD                 '(3712;;;,,
                                                               /LPLWHG/LDELOLW\&RPSDQ\
                   3883 HOWARD HUGHES PARKWAY, SUITE 1100




                                                                                     3ODLQWLIIV                           127,&(2)(175<2)
                                                                  YV                                                    7(0325$5<5(675$,1,1*25'(5
          Wilmer
                           LAS VEGAS, NEVADA 89169




                                                            
                                                                  )5217$'9,6256//&IRUHLJQOLPLWHG
                                 LAW OFFICES


                                 (702)784-5200




                                                               OLDELOLW\FRPSDQ\'2(6,WKURXJK;DQG
Snell &L.L.P.




                                                                  52((17,7,(6,,WKURXJK;;LQFOXVLYH
                                                            
                                                                                        'HIHQGDQWV
                                                            

                                                               72 $//,17(5(67('3$57,(6$1'7+(,5&2816(/2)5(&25'

                                                                      3/($6(7$.(127,&(WKDWWKHDWWDFKHG7HPSRUDU\5HVWUDLQLQJ2UGHUZDVHQWHUHGRQ

                                                               )HEUXDU\See([KLELW

                                                            

                                                                      'DWHG)HEUXDU\               61(// :,/0(5//3

                                                                                                                  /s/ Bradley Austin
                                                                                                                     -XVWLQ&DUOH\(VT
                                                                                                                  1HYDGD%DU1R
                                                                                                                     %UDGOH\$XVWLQ(VT
                                                                                                                  1HYDGD%DU1R
                                                                                                                     +RZDUG+XJKHV3DUNZD\6XLWH
                                                                                                                  /DV9HJDV19
                                                                                                                  Attorneys for Defendant 4Front Advisors LLC
                                                            

                                                            




                                                                                                 Case Number: A-17-755479-C
                                                                           Case 22-11249-abl                Doc 94      Entered 07/18/22 14:08:21             Page 5 of 22
                                                                  


                                                                                                                   &(57,),&$7(2)6(59,&(
                                                                                  ,KHUHE\GHFODUHXQGHUSHQDOW\RISHUMXU\WKDW,DPRYHUWKHDJHRIHLJKWHHQ  \HDUV
                                                                    DQG,DPQRWDSDUW\WRQRULQWHUHVWHGLQWKLVDFWLRQ2QWKLVGDWH,FDXVHGWREHVHUYHGDWUXH
                                                                    DQGFRUUHFWFRS\RIWKHIRUHJRLQJ127,&(2)(175<2)7(0325$5<5(675$,1,1*





                                                                    25'(5E\WKHPHWKRGLQGLFDWHGEHORZ
                                                                                      %<)$;E\WUDQVPLWWLQJYLDIDFVLPLOHWKHGRFXPHQW V OLVWHGDERYHWRWKHID[QXPEHU V VHW
                                                             
                                                                                       IRUWK EHORZ RQ WKLV GDWH EHIRUH  SP SXUVXDQW WR ('&5 5XOH  D   $ SULQWHG
                                                                                        WUDQVPLVVLRQUHFRUGLVDWWDFKHGWRWKHILOHFRS\RIWKLVGRFXPHQW V 
                                                                                      %< +$1'  E\ SHUVRQDOO\ GHOLYHULQJ WKH GRFXPHQW V  OLVWHG DERYH WR WKH SHUVRQ V  DW WKH
                                                                                       DGGUHVV HV VHWIRUWKEHORZ
                                                             
                                                                                        %<0$,/E\SODFLQJWKHGRFXPHQW V OLVWHGDERYHLQDVHDOHGHQYHORSHZLWKSRVWDJHWKHUHRQ
                                                                                    IXOO\SUHSDLGLQWKH8QLWHG6WDWHVPDLODW/DV9HJDV1HYDGDDGGUHVVHGDVVHWIRUWKEHORZ
                                                                                        %<(0$,/E\WUDQVPLWWLQJYLDHPDLOWKHGRFXPHQW V OLVWHGDERYHWRWKHHPDLODGGUHVV HV 
                                                                             VHWIRUWKEHORZ
                   3883 HOWARD HUGHES PARKWAY, SUITE 1100




                                                                                     %< 3(5621$/ '(/,9(5<  E\ FDXVLQJ SHUVRQDO GHOLYHU\ E\  D PHVVHQJHU
                                                                                       VHUYLFH ZLWK ZKLFK WKLV ILUP PDLQWDLQV DQ DFFRXQW RI WKH GRFXPHQW V  OLVWHG DERYH WR WKH
          Wilmer
                           LAS VEGAS, NEVADA 89169




                                                                                     SHUVRQ V DWWKHDGGUHVV HV VHWIRUWKEHORZ
                                                                                        %< (/(&7521,& 68%0,66,21  VXEPLWWHG WR WKH DERYHHQWLWOHG &RXUW IRU HOHFWURQLF
                                 LAW OFFICES


                                 (702)784-5200




                                                            
                                                                               :       ILOLQJDQGVHUYLFHXSRQWKH&RXUW¶V6HUYLFH/LVWIRUWKHDERYHUHIHUHQFHGFDVH
Snell &L.L.P.




                                                                   
                                                                           -DVRQ0:LOH\(VT                                        6WHYHQ%&RKHQ(VT
                                                                        5\DQ63HWHUVRQ(VT                                      +6WDQ-RKQVRQ(VT
                                                                        :,/(<3(7(56(1                                              &2+(1-2+16213$5.(5(':$5'6
                                                                           ,QGLJR'ULYH6WH                                 (:DUP6SULQJV5RDG
                                                                        /DV9HJDV19                                         /DV9HJDV19
                                                                                                                                       
                                                                        Attorneys for Nuveda, LLC                                   Attorneys for CWNevada LLC
                                                                                                                                       
                                                                        
                                                                      
                                                            
                                                                      '$7(')HEUXDU\
                                                            
                                                                                                                                      /s/ Ruby Lengsavath
                                                                                                                                         $Q(PSOR\HHRI6QHOO :LOPHU//3
                                                                   
                                                                      
                                                            

                                                            

                                                            

                                                            
                                               
                                                                                                                                                                                              
                                                                                                                                      
                                                                      
        Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 6 of 22
    




                            (;+,%,7
                      7HPSRUDU\5HVWUDLQLQJ2UGHU                        
                                
                                
                                
                                
                                
                                
                                
                            (;+,%,7
                      7HPSRUDU\5HVWUDLQLQJ2UGHU





                                                                               
    
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 7 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 8 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 9 of 22




       EXHIBIT “B”




        EXHIBIT “B”
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 10 of 22
                                                            Electronically Filed
                                                            4/16/2019 2:33 PM
                                                            Steven D. Grierson
                                                            CLERK K OF THE COU   URT
                                                                             COURTRT




                        Case Number: A-17-755479-C
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 11 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 12 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 13 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 14 of 22
                                                            (OHFWURQLFDOO\)LOHG
                                                            30
                                                            6WHYHQ'*ULHUVRQ
                                                            &/(5.. 2)7+(&28
                                                            &/(5.2)7+(&2857   857
                                                                                  57




                        &DVH1XPEHU$&
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 15 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 16 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 17 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 18 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 19 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 20 of 22
Case 22-11249-abl   Doc 94   Entered 07/18/22 14:08:21   Page 21 of 22




        EXHIBIT “C”




         EXHIBIT “C”
7/18/22, 1:23 PM     Case 22-11249-abl               Doc  94 Entered 07/18/22 14:08:21 Page 22 of 22
                                                      https://www.clarkcountycourts.us/Anonymous/Search.aspx?ID=400



                                     Civil/Criminal Case Records Search Results

  Skip to Main Content Logout My Account Search Menu New District Civil/Criminal Search Refine Search   Location : District Court Civil/Criminal Help
 Record Count: 1
 Search By: Case Case Search Mode: Number Case Number: A-17-755479-C All All Sort By: Filed Date
 Case Number       Citation Number    Style/Defendant Info Filed/Location   Type/Status                               Charge(s)
 A-17-755479-B                              Nuveda LLC,               05/15/2017       Other Business Court Matters
                                            Plaintiff(s) vs. 4Front   Department 13    Open
                                            Advisors LLC,
                                            Defendant(s)




https://www.clarkcountycourts.us/Anonymous/Search.aspx?ID=400                                                                                           1/1
